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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


 JOHN SMITH,                                      )
                                                  )
                Plaintiff,                        )
                                                  )
        vs.                                       ) Case No.: 1:18-cv-00126-JJM-PAS
                                                  )
 BROWN UNIVERSITY,                                )
                                                  )
                Defendant.                        )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

        All parties in the above-captioned action stipulate, pursuant to Fed. R. Civ. P.

 41(a)(1)(A)(ii), that this action is dismissed with prejudice and without interest or costs.


 The Plaintiff, John Smith,                          The Defendant, Brown University in
 By his Attorney,                                    Providence in the State of Rhode Island and
                                                     Providence Plantations,
                                                     By its Attorneys,

 /s/ J. Richard Ratcliffe                            /s/ Jeffrey S. Michaelson
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                                  CERTIFICATE OF SERVICE

         I, J. Richard Ratcliffe, certify that on March 7, 2019, I filed and served this document on
 the following counsel of record through the Court’s CM/ECF system.

         Jeffrey S. Michaelson
         jeffmichaelson@cox.net

                                                     /s/ J. Richard Ratcliffe
